Case 2:17-cv-12559-VAR-MKM ECF No. 39, PageID.181 Filed 08/16/19 Page 1 of 4




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

CHRISTOPHER THAAR,
                                               Case No. 2:17-cv-12559-VAR-MKM
        Plaintiff,                             Hon. Victoria A. Roberts
                                               Mag. Mona K. Majzoub
-vs.-

NATIONWIDE COLLECTION AGENCIES,
INC. D/B/A MONEY RECOVERY NATIONWIDE,

     Defendant.
_______________________________________________________________

                  STIPULATION OF DISMISSAL
AS TO DEFENDANT NATIONWIDE COLLECTION AGENCIES,
    INC. D/B/A MONEY RECOVERY NATIONWIDE ONLY, WITH
                PREJUDICE AND WITHOUT COSTS

        The parties, as evidenced by the signatures of their respective counsel below,

stipulate to the dismissal of Plaintiff’s claims against Defendant Nationwide

Collection Agencies, Inc. d/b/a Money Recovery Nationwide, only, with prejudice

and without attorney’s fees or costs to either party.


                                        _/s/Gary D. Nitzkin_______________
                                        Gary D. Nitzkin (P41155)
                                        Attorney for Plaintiff
                                        22142 West Nine Mile Road
                                        Southfield, Michigan 48034
                                        248.353.2882
                                        gary@crlam.com
Case 2:17-cv-12559-VAR-MKM ECF No. 39, PageID.182 Filed 08/16/19 Page 2 of 4




                                     By: /s/Randall J. Groendyk
                                     Randall J. Groendyk
                                     39500 High Pointe Blvd Suite 350
                                     Novi, MI 48375
                                     Tel: (248) 567-7400
                                     Fax: (248) 567-7423
                                     Email: bsweeny@varnumlaw.com
                                     Email: rjgroendyk@varnumlaw.com
                                     Counsel for Nationwide Collection Agencies




                             PROOF OF SERVICE

      I, Gary Nitzkin, hereby state that on August 5, 2019, I served a copy of the
foregoing document upon all parties and counsel as their addresses appear of
record via the Court’s CM/ECF system.




                                                  _/s/Gary D. Nitzkin__
Case 2:17-cv-12559-VAR-MKM ECF No. 39, PageID.183 Filed 08/16/19 Page 3 of 4




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

CHRISTOPHER THAAR,
                                             Case No. 2:17-cv-12559-VAR-MKM
        Plaintiff,                           Hon. Victoria A. Roberts
                                             Mag. Mona K. Majzoub
-vs.-

NATIONWIDE COLLECTION AGENCIES,
INC. D/B/A MONEY RECOVERY NATIONWIDE,

     Defendant.
_________________________________________________________________

                     ORDER OF DISMISSAL
 WITH PREJUDICE AS TO DEFENDANT NATIONWIDE COLLECTION
  AGENCIES, INC. D/B/A MONEY RECOVERY NATIONWIDE, ONLY

        The Court, having reviewed the parties’ stipulation, and finding good cause

shown;

        IT IS HEREBY ORDERED that Plaintiff’s claims against Defendant

Nationwide Collection Agencies, Inc. d/b/a Money Recovery Nationwide, only, are

hereby dismissed with prejudice and without fees or costs to either party. The

Clerk of the Court shall terminate Defendant Nationwide Collection Agencies, Inc.

d/b/a Money Recovery Nationwide as a party in this action and remove its

attorneys of record from receiving ECF Notifications.


Date: ___8/16/19________             s/ Victoria A. Roberts
      ______________________________ Victoria A. Roberts
                                     Judge of United States District Court
Case 2:17-cv-12559-VAR-MKM ECF No. 39, PageID.184 Filed 08/16/19 Page 4 of 4
